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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER:


BERNHARD KUHMSTEDT                                               2:22−cv−04998−RGK−E
                                            PLAINTIFF(S)

      v.
SPOTIFY USA, INC. , et al.

                                                              ORDER TO STRIKE ELECTRONICALLY FILED
                                         DEFENDANT(S).
                                                                          DOCUMENT(S)




The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply
with the Court’s Local Rules, General Orders, and/or Case Management Order, as indicated:
   9/9/2022              /           17                  /           REQUEST for Default Judgment
  Date Filed                        Doc. No.                        Title of Document
                         /                               /
  Date Filed                        Doc. No.                        Title of Document




Other:
The document is STICKEN for the reasons stated on the Notice to Filer of Deficiency [19]
dated 9/12/2022. Document was also corrected at [18].


Dated: September 12, 2022                                    By: /s/ R. Gary Klausner
                                                                 U.S. District Judge

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.



G−106 (6/12)          ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S)
